Case 2:19-cv-02247-JWL-GEB Do
JS 44 (Rev. 02/19)

The JS 44 civil cover sheet and the information contained herein neither
provided by local rules of court. This form, approved by the Judicial Conference of th

replace nor puppienent the filing and service of pleadings or other papers as

cument 2 Filed 05/20/19 Page1of1

CIVIL COVER SHEET

requis by law, except as
e

e United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS
GARREN L. LOVELACE

(b) County of Residence of First Listed Plaintiff Johnson County
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Gerald Gray I, Esq.

G. Gray Law, LLC
104 W. 9th Street, Ste 401, Kansas City, Mo 64105 (816) 888-3145

DEFENDANTS
BUFFALO WILD WINGS, ET. AL

County of Residence of First Listed Defendant _Johnson County
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
Attorneys (/f Known)

 

 

 

 

 

 

 

 

110 Insurance

120 Marine

130 Miller Act

140 Negotiable Instrument

150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

153 Recovery of Overpayment
of Veteran’s Benefits

160 Stockholders’ Suits

190 Other Contract

195 Contract Product Liability

196 Franchise

Q0 90000

0a00 QO

© 210 Land Condemnation

PERSONAL INJURY
0 310 Airplane
(0 315 Airplane Product
Liability
7 320 Assault, Libel &
Slander
330 Federal Employers’
Liability
340 Marine
1 345 Marine Product
Liability
© 350 Motor Vehicle
©) 355 Motor Vehicle
Product Liability
© 360 Other Personal
Inj
©) 362 Personal Injury -
Medical Malpractice
CIVIL RIGHTS

© 440 Other Civil Rights

PERSONAL INJURY

(1 365 Personal Injury -
Product Liability

0 367 Health Care/
Pharmaceutical
Personal Injury
Product Liability

C1 368 Asbestos Personal
Injury Product
Liability

PERSONAL PROPERTY

O 370 Other Fraud

371 Truth in Lending

( 380 Other Personal
Property Damage

(© 385 Property Damage
Product Liability

Habeas Corpus:

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
0 1 U.S. Government 3 Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State OG 1 © 1 Incorporated or Principal Place go4 04
: of Business In This State
O 2 US. Government 0 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place os O85
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O 3 © 3. Foreign Nation o06 O86
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Onl Click here for: Nature of Suit Code Descriptions.
(contac = TORTS FORRERTURURENALAY [BANKRUPTCY [OTHER STATUTES]

 

© 625 Drug Related Seizure
of Property 21 USC 881
0 690 Other

(1 422 Appeal 28 USC 158
CO 423 Withdrawal
28 USC 157

 

820 Copyrights
O 830 Patent
C 835 Patent - Abbreviated

 

 

 

0 710 Fair Labor Standards

© 740 Railway Labor Act

0 751 Family and Medical
Leave Act

© 790 Other Labor Litigation

1 791 Employee Retirement

   

© 375 False Claims Act

O 376 Qui Tam (31 USC
3729(a))

© 400 State Reapportionment

JO 410 Antitrust

1 430 Banks and Banking
O 450 Commerce
460 Deportation

New Drug Application |© 470 Racketeer Influenced and
OG 840 Trademark Corrupt Organizations
SOCIAL SECURI © 480 Consumer Credit

     

O 861 HIA (1395
O 865 RSI (405(g))

(7 870 Taxes (U.S. Plaintiff

© 485 Telephone Consumer

Act © 862 Black Lung (923) Protection Act
O) 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 490 Cable/Sat TV
Relations O) 864 SSID Title XVI 850 Securities/Commodities/

Exchange
890 Other Statutory Actions
© 891 Agricultural Acts
© 893 Environmental Matters
(J 895 Freedom of Information

 

 

 

 

 

 

© 220 Foreclosure 441 Voting O 463 Alien Detainee Income Security Act or Defendant) Act
O 230 Rent Lease & Ejectment 2% 442 Employment © 510 Motions to Vacate © 871 IRS—Third Party 0 896 Arbitration
© 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 1 899 Administrative Procedure
© 245 Tort Product Liability Accommodations 530 General Act/Review or Appeal of
© 290 All Other Real Property (J 445 Amer. w/Disabilities -] 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: 0 462 Naturalization Application 1 950 Constitutionality of
0 446 Amer. w/Disabilities - | 540 Mandamus & Other | 465 Other Immigration State Statutes
Other 1 550 Civil Rights Actions
( 448 Education 1 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Only)
M1 Original (72 Removed from © 3  Remanded from 4 Reinstated or © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are fil
42 U.S.C. § 1981

Brief description of cause:
Wrongful Termination

VI. CAUSE OF ACTION

 

ing (Do not cite jurisdictional statutes unless diversity):

 

 

 

 

 

VII. REQUESTED IN O) CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 200,000.00 JURY DEMAND: Wes ONo

Vill. RELATED CASE(S)
IF ANY (Gee msirucions)’ oe DOCKET NUMBER

DATE SIGNATURE OF ATTORNEY OF RECORD

05/20/2019 ‘

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
